     Case 3:20-cv-00627-RGJ Document 18 Filed 05/13/21 Page 1 of 6 PageID #: 88




                             UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF KENTUCKY
                                  LOUISVILLE DIVISION
                            CIVIL ACTION NO.: 3:20-cv-00627-RGJ

                                  ELECTRONICALLY FILED

DUSTIN HOWARD RUSSELL                                                             PLAINTIFF

v.

JAMES UNDERWOOD;
MELISSA JOHNSON                                                                DEFENDANTS


DEFENDANT, MELISSA JOHNSON, RN’S, ANSWER TO PLAINTIFF’S COMPLAINT


         Comes the Defendant, Melissa Johnson, RN, by counsel, and for her Answer to

Plaintiff’s Complaint hereby states as follows:

      1. This Answering Defendant specifically denies the allegations contained in Plaintiff’s

         handwritten Complaint (DN 1) that are directed towards her.

      2. Any allegation not specifically admitted is hereby denied.

                                   AFFIRMATIVE DEFENSES

             1. This Defendant pleads that Plaintiff failed to properly serve her with the

         Complaint in this matter in accordance with Federal Rule of Civil Procedure 4(e). This

         Defendant does not waive the defense of improper service of process by filing this

         Answer and expressly reserves the right to file any and all appropriate dispositive

         motions in the future.

             2. Pursuant to Bell Atlantic Corp. v. Twombly, 550 U.S. 544 (2007) and Ashcroft v.

         Iqbal, 129 S.Ct. 1937 (2009), Plaintiff’s Complaint is insufficient in that it fails to
Case 3:20-cv-00627-RGJ Document 18 Filed 05/13/21 Page 2 of 6 PageID #: 89




    specifically allege or otherwise establish that personal jurisdiction over this Defendant is

    appropriate in this case. Pursuant to Fed.R.Civ.P. 12(h), this Defendant does not waive

    the defense of lack of personal jurisdiction by filing this Answer and expressly reserves

    the right to contest any future allegations should the deficiencies in Plaintiff’s Complaint

    be corrected regarding personal jurisdiction and/or venue.

       3. The Complaint against this Defendant fails because she was not acting under

    color of any statute, ordinance, regulation, custom, or usage, of any State or Territory or

    the District of Columbia, and was not otherwise a State Actor, such that she is not subject

    to liability under 42 U.S.C. §1983.

       4. The Complaint fails to state a claim upon which relief can be granted against this

    Defendant.

       5. The Complaint may have failed to join a party or parties whose joinder is required

    under Rule 19.

       6. The Complaint may be barred by the doctrine of estoppel.

       7. The Complaint may be barred by the applicable statute of limitations.

       8. The Complaint may be barred by the doctrine of waiver.

       9. The Plaintiff may have failed to exhaust administrative remedies as required by

    law.

       10. At all times complained of, this Defendant acted in good faith and in conformity

    with all applicable standards, laws and regulations pertaining to her conduct and with an

    objectively reasonable belief that her actions were lawful.
Case 3:20-cv-00627-RGJ Document 18 Filed 05/13/21 Page 3 of 6 PageID #: 90




 11. If the Plaintiff has been damaged as alleged, which is specifically denied, such damage is

    the result of the actions or omissions of Dustin Howard Russell.

        12. If the Plaintiff has been damaged as alleged, which is specifically denied, such

    damage is the result of the negligence of a third party or parties over whom this

    Defendant had no authority or control.

        13. The Complaint may be barred by the provisions of the Prison Litigation Reform

    Act, 42 U.S.C.A. § 1997(e), et. seq.

        14. The Complaint may be barred by the doctrines of intervening and/or superseding

    cause.

        15. The Complaint may be barred by the doctrines of comparative and/or contributory

    negligence.

        16. The Complaint may be barred by the doctrines of qualified immunity,

    governmental immunity, qualified official immunity, and the immunity set forth in

    Chapter 65 of the Kentucky Revised Statutes, the Claims against Local Governments Act.

        17. To the extent that the Plaintiff asserts a claim for punitive damages, such claim

    should be dismissed because a jury, under Kentucky law: (1) is not provided with

    sufficient standards of clarity for determining the appropriateness and amount of a

    punitive damages award; (2) is not adequately instructed on the limits of punitive

    damages imposed by the applicable principles of deterrence and punishment; (3) is not

    expressly prohibited from awarding punitive damages, or determining the amount of a

    punitive damage award, in whole or in part, on the basis of invidious discriminatory

    characteristics including the residence and wealth of this Defendant; (4) is permitted to
Case 3:20-cv-00627-RGJ Document 18 Filed 05/13/21 Page 4 of 6 PageID #: 91




    award punitive damages under a vague and arbitrary standard that does not sufficiently

    define the conduct or mental state that makes punitive damages permissible; and (5) is

    not subject to trial court and appellate judicial review for reasonableness and furtherance

    of legitimate purposes on the basis of an objective standard. For the foregoing reasons, a

    punitive damage award would violate Kentucky law and this Defendant’s due process

    and equal protection rights as guaranteed under the Fourteenth Amendment to the United

    States Constitution and the Constitution of the Commonwealth of Kentucky.

       18. To the extent that the Plaintiff asserts a claim for punitive damages, such claim

    should be dismissed as being in violation of the United States Constitution, including but

    not limited to the Fifth and Eighth Amendments, as applied to the States through the

    Fourteenth Amendment of the United States Constitution.

       19. To the extent that the Plaintiff asserts a claim for punitive damages, such claim

    should be dismissed as being in violation of the Constitution of the Commonwealth of

    Kentucky, including but not limited to Articles 2, 17, and 26.

       20. To the extent that the Plaintiff asserts a claim for punitive damages, such claim is

    not permitted without proof of each and every element beyond a reasonable doubt, and,

    as such, violates this Defendant’s due process rights as guaranteed by the Fourteenth

    Amendment of the United States Constitution and the due process provision of the

    Constitution of the Commonwealth of Kentucky.

       21. To the extent that the Plaintiff asserts a claim for punitive damages, such claim

    should be dismissed because any award of punitive damages, under the law of the

    Commonwealth of Kentucky, without the same protections accorded to criminal
  Case 3:20-cv-00627-RGJ Document 18 Filed 05/13/21 Page 5 of 6 PageID #: 92




       defendants, including but not limited to, protection against unreasonable searches and

       seizures, double jeopardy, self-incrimination, the right to confront adverse witnesses,

       speedy trial, and the effective assistance of counsel, would violate this Defendant’s rights

       under the Fourteenth Amendment to the United States Constitution and the Fourth, Fifth,

       and Sixth Amendments as incorporated into the Fourteenth Amendment and Sections 2,

       3, 7, 10, 11, 12, 13, 14, 17, and 26 of the Constitution of the Commonwealth of

       Kentucky.

           22. This Defendant pleads and incorporates by reference each and every affirmative

       defense provided in the Federal Rules of Civil Procedure, including but not limited to

       those set forth in Rule 8, or in common law, which may be appropriate or applicable upon

       the facts as they are discovered in this action.

           23. This Defendant reserves the right to plead further herein and specifically reserves

       the right to amend this Answer to assert any and all other affirmative defenses which

       facts or further discovery may reveal appropriate.

       WHEREFORE, having Answered, this Defendant prays that the Complaint be dismissed

and held for naught; for a trial by jury; for her costs and reasonable attorney’s fees; and for any

and all other relief for which she appears properly entitled.

                                                      Respectfully submitted,


                                                      /s/ Robert J. Shilts
                                                      Robert J. Shilts – KY 91267
                                                      James E. Smith – KY 90979
                                                      Gazak Brown, P.S.C.
                                                      3220 Office Pointe Place
                                                      Suite 200
                                                      Louisville, Kentucky 40220
                                                      (502) 412-5020 Tel.
  Case 3:20-cv-00627-RGJ Document 18 Filed 05/13/21 Page 6 of 6 PageID #: 93




                                                     (502) 412-1004 Fax
                                                     rshilts@gazakbrown.com
                                                     jsmith@gazakbrown.com
                                                     Service Email:
                                                     pleadings@gazakbrown.com
                                                     sjacobsvaldes@gazakbrown.com
                                                     Counsel for Defendant, Melissa Johnson




                                CERTIFICATE OF SERVICE


       I hereby certify that a copy of the foregoing was sent via U.S. Mail, postage pre-paid,
and/or via electronic service this 13th day of May, 2021 to the following:


 Legal Mail: Inmate # 191746                   R. Keith Bond
 Dustin Howard Russell                         Coleman Lochmiller & Bond
 Southeast State Correctional Complex          P.O. Box 1177
 P.O. Box 1600                                 Elizabethtown, Kentucky 42702
 Wheelwright, Kentucky 41669                   270-737-0600 Tel.
 Pro Se Plaintiff                              Counsel for Defendant, Jamie Underwood



/s/ Robert J. Shilts
Robert J. Shilts
James E. Smith
Counsel for Defendant,
Melissa Johnson
